                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TENNESSEE
                                AT KNOXVILLE



 UNITED STATES OF AMERICA                     )

                                              )
                 v.                                             No. 3:03-cr-101
                                              )

 RODOLFO BORJA TORRES                         )



                            MEMORANDUM AND ORDER


              This matter came before the court for defendant’s sentencing on

 January 24, 2006. During the course of that hearing, the court denied defendant’s

 written motion to withdraw guilty plea which was filed earlier that day [see Doc. 909].

 This memorandum and order shall serve to clarify further the court’s reasoning.1



              “The withdrawal of a guilty plea prior to sentencing is not an absolute

 right but is a matter within the broad discretion of the district court.” United States

 v. Spencer, 836 F.2d 236, 238 (6th Cir. 1987) (internal citation and quotation marks

 omitted). In order to withdraw a guilty plea before sentencing, a defendant must



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        The court also states for the record that during the course of the sentencing
 hearing, the defendant made no reference whatsoever to his motion to withdraw the guilty
 plea. The court stood ready, willing and able to hear any statement or representation which
 the defendant wished to make about this matter; however, for whatever reason, the
 defendant remained silent on this issue.


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 “show a fair and just reason for requesting the withdrawal.” Fed. R. Crim. P.

 11(d)(2)(B). The purpose of Rule 11(d) “is to allow a hastily entered plea made with

 unsure heart and confused mind to be undone, not to allow a defendant to make a

 tactical decision to enter a plea, wait several weeks, and then obtain a withdrawal

 if he believes he made a bad choice in pleading guilty.” United States v. Bazzi, 94

 F.3d 1025, 1027 (6th Cir. 1996) (internal citation and quotation marks omitted).

 Moreover, the defendant carries the burden of proving that vacating the plea would

 be justified. United States v. Pluta, 144 F.3d 968, 973 (6th Cir. 1998).



             In the Sixth Circuit, the district court is required to consider the following

 factors when faced with such a motion:


                1.      The amount of time that elapsed between the
             plea and the motion to withdraw it;

               2.       The presence (or absence) of a valid reason for
             the failure to move for withdrawal earlier in the
             proceedings;

               3.      Whether the defendant has asserted or
             maintained his innocence;

                4.        The circumstances underlying the entry of the
             guilty plea;

                5.       The defendant’s nature and background;

                 6.     The degree to which the defendant has had
             prior experience with the criminal justice system; and



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                7.       Potential prejudice to the government if the
              motion to withdraw is granted.


 United States v. Bashari, 27 F.3d 1174, 1181 (6th Cir. 1994).



              As to the first and second factors (regarding time lapse and valid

 reason), the record reflects that the defendant pled guilty to the pending charges on

 February 7, 2005, and did not seek to withdraw the guilty plea until the very day of

 his sentencing, January 24, 2006 - almost a one-year time lapse. The Sixth Circuit

 has approved denial of the withdrawal motions under circumstances involving much

 shorter time lapses. See, e.g., United States v. Baez, 87 F.3d 805, 808 (6th Cir.

 1996) (67-day delay); United States v. Goldberg, 862 F.2d 101, 104 (6th Cir. 1988)

 (55-day delay); United States v. Spencer, 836 F.2d at 239 (35-day delay); see also

 United States v. Thompson, 680 F.2d 1145, 1151 (7th Cir. 1982) (noting motions to

 withdraw made on the eve of sentencing hearing are disfavored). Furthermore, the

 defendant has provided no reason at all for his delay in requesting withdrawal. The

 defendant indicates, through counsel, that he wishes to withdraw his guilty plea

 based on his bald assertion that his attorney and his interpreter “coerced” him into

 pleading guilty [see Doc. 909, p.2]. However, any such coercion would have

 occurred almost a year ago, and defendant offers no explanation for his failure to

 bring this matter to the court’s attention any earlier.




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              Additionally, the court feels compelled to make a couple of observations

 regarding defendant’s attorney, Angela R. Morelock, given the serious accusation

 against her as it pertains to her coercing the defendant to plead guilty. First, there

 is absolutely no evidence in this record of any such behavior by Ms. Morelock. To

 the contrary, the record indicates that Ms. Morelock has been extremely patient with

 her client and put no pressure on her client to plead guilty. In fact, this defendant

 was the last of the more than 40 defendants to plead guilty. Ms. Morelock also

 indicated to this court on many occasions that a guilty plea would not be forthcoming

 and that the government should be prepared to try this case as scheduled on March

 1, 2005. It was indeed a surprise to the court when the defendant indicated an

 interest in pleading guilty in late January 2005. Second, unlike some attorneys who

 regularly practice in this court, Ms. Morelock is not the least bit reluctant to put the

 government to trial. Approximately two years ago, Ms. Morelock represented one

 of the few defendants to proceed to trial in a gang-related drug conspiracy, United

 States v. Walter Williams, et al., 3:02-cr-78. Well over a dozen other defendants

 pled guilty in that case; yet, Ms. Morelock and her client, as well as two other

 defendants, proceeded to trial for approximately three weeks. Thus, Ms. Morelock’s

 prior record with this court does not indicate that she has ever coerced a defendant

 into pleading guilty. Nor is there any evidence she did so in this case.




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              Regarding the third factor, defendant has not asserted his actual

 innocence; rather, the defendant argues that he now wants to hear what proof the

 government has against him, and he did not intend to plead guilty until that occurred.

 Nevertheless, a careful review of the transcript of the defendant’s guilty plea [see

 Doc. 908] indicates that, after some initial reluctance regarding the signing of the

 original plea agreement, he pled guilty to counts one and two of the indictment

 without any hesitation whatsoever. Furthermore, the defendant signed a three-page

 factual basis outlining his involvement in the drug conspiracy [see Doc. 721], and the

 court specifically asked him about that factual basis during his change of plea [see

 Doc. 908, pp.5-6]. Thus, this factor does not cut in favor of the defendant.



              As to the fourth factor, the court is persuaded, again after reviewing the

 transcript of the change of plea hearing, that the defendant entered a knowing and

 voluntary guilty plea, and that his guilty plea satisfied all of the requirements of Rule

 11. There is nothing surrounding this defendant’s guilty plea, and certainly nothing

 about this defendant’s personality, to suggest to the court that he made an

 improvident or rushed decision. As noted earlier, this defendant waited to enter his

 guilty plea until after every other defendant did so in this large drug conspiracy. This

 reluctance did not necessarily arise out of the fact that the defendant was innocent

 of these charges, as he now intimates. Instead, it indicates that he made a poor

 tactical decision by waiting so long to do so, and he now regrets that delay because

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 other defendants - who pled sooner - may have received, in his view, a “bigger

 break” at sentencing. Consequently, the fourth factor does not assist the defendant

 in carrying his burden of proof on this motion.



              The fifth and sixth factors are the only ones which arguably help the

 defendant. The defendant’s record does not indicate extensive experience with the

 criminal justice system. He was charged with the attempted smuggling of aliens in

 1997 by the INS, but that appears to be the only charge against him prior to the

 instant offenses. Nevertheless, the fact that the fifth and sixth factors may weigh in

 his favor is not enough to carry the day.



              Finally, because the defendant has not carried his burden of proof with

 respect to the first six factors, the court is not required to consider any prejudice to

 the government. See United States v. Triplett, 828 F.2d 1195, 1198 (6th Cir. 1987).



              In sum, based on the record before it, the court is confident that the

 defendant knew precisely what he was doing at the time he entered his plea, and

 that he did so voluntarily. To allow the defendant to withdraw his plea under the

 facts and circumstances of this case would allow him to convert his guilty plea and

 then the withdrawal of that plea “into something akin to a move in a game of chess,”

 which is not to be tolerated by a district court. See United States v. Hyde, 520 U.S.

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 670, 677 (1997). It must be remembered that “a guilty plea is a grave and solemn

 act to be accepted only with care and discernment ... .” Brady v. United States, 397

 U.S. 742, 748 (1970). In this case, that is precisely how the court accepted this

 defendant’s guilty plea nearly a year ago. The court therefore soundly rejects

 defendant’s purely tactical move to withdraw his guilty plea on the day of sentencing.



             ENTER, nunc pro tunc, January 24, 2006.



                                                      s/ James H. Jarvis
                                               UNITED STATES DISTRICT JUDGE




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